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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
____________________________________
                                      )
UNITED STATES OF AMERICA,             )
                                      )   Misc. No. 06-10427 PBS
              Petitioner,             )
                                      )
v.                                    )
                                      )
JEFFREY SHIELDS,                      )
(Reg. No. 10760-036),                 )
                                      )
              Respondent.             )
                                      )
                                      )
UNITED STATES OF AMERICA,             )
                                      )    Misc. No. 06-10439 PBS
              Petitioner,             )
                                      )
v.                                    )
                                      )
JOEL WETMORE,                         )
(Reg. No. 10379-036),                 )
                                      )
              Respondent.             )
                                      )
                                      )
UNITED STATES OF AMERICA,             )
                                      )    Misc. No. 06-10449 PBS
              Petitioner,             )
                                      )
v.                                    )
                                      )
CHARLES PEAVY,                        )
(Reg. No. 24545-050),                 )
                                      )
              Respondent.             )
                                      )

                 ASSENTED-TO MOTION FOR EXTENSION OF TIME

       Petitioner, the United States of America, hereby requests an extension of time of one and

one-half days, through June 29, 2007, at 12:00 p.m., in which to file its opposition to the
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consolidated motion to dismiss by respondents Jeffrey Shields, Joel Wetmore, and Charles Peavy.

Counsel for respondents has assented to this motion. In further support thereof, the United States

says as follows:

       1. On May 16, 2007, respondents filed a consolidated motion to dismiss in these three

actions, raising facial constitutional challenges to section 302(4) of the Adam Walsh Child

Protection and Safety Act, Pub. L. No. 109-248, Title III, 302(4), 120 Stat. 620 (July 27, 2006),

codified at 18 U.S.C. §4248(a).

       2. On June 13, 2007, the parties filed a Stipulation Re: Briefing Schedule and Assented-to

Motion for Leave to File Excess Pages, which provided that the government’s opposition of the shall

be due on or before June 27, 2007; and that respondent’s reply brief shall be due on or before July

20, 2007. On June 18, 2007, this Court allowed the motion.

       3. The government needs a short extension of time in which to complete its opposition

memorandum, and requests that an extension of one and one-half days, or through June 29, 2007,

at 12:00 p.m., in which to file that opposition. Counsel for the respondents, William Fick, Esq., has

assented to this motion.

       WHEREFORE, with good cause having been shown, the government respectfully request

that this Court grant them an extension of time of one and one-half days, or until June 29, at 12:00

p.m., in which to file its consolidated opposition to the respondents’ motion to dismiss.




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                                                  Respectfully submitted,

                                                  MICHAEL J. SULLIVAN
                                                  United States Attorney

                                              By: /s/ Mark T. Quinlivan
                                                 MARK T. QUINLIVAN
                                                 Assistant U.S. Attorney
                                                 John Joseph Moakley U.S. Courthouse
                                                 1 Courthouse Way, Suite 9200
                                                 Boston, MA 02210
                                                 (617) 748-3606
Dated: June 27, 2007

                             LOCAL RULE 7.1(a)(2) CERTIFICATE

       Pursuant to Local Rule 7.1(a)(2), I certify that I have conferred with William Fick, Esq., co-
counsel for the respondents, regarding this motion, and that Mr. Fick has assented thereto.

                                               /s/ Mark T. Quinlivan
                                              MARK T. QUINLIVAN
                                              Assistant U.S. Attorney




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